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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

              Plaintiff,                             Case No. 14-cr-20780
                                                     Hon. Matthew F. Leitman
 v.

 CURTIS SCOTT,

           Defendant.
 __________________________________________________________________/

 ORDER GRANTING SECOND EXTENSION OF TIME FOR DEFENDANT
 TO SUBMIT INFORMATION IN SUPPORT OF REQUEST FOR COURT-
                APPOINTED INVESTIGATOR

       On March 9, 2016, a jury convicted Defendant Curtis Scott of aiding and

 abetting a carjacking, aiding and abetting the use and/or carrying of a firearm during

 a crime of violence, and making a false statement to a federal agent. Sentencing is

 scheduled for September 11, 2018 at 10:00 a.m. On May 24, 2018, Scott requested

 that the Court appoint an investigator to assist him in gathering information for his

 sentencing. (See ECF #389.) In an Order dated May 31, 2018, the Court stated that

 it would consider appointing an investigator if Scott provided certain additional

 information concerning the identity of the investigator, the investigator’s tasks, and

 the budget for the investigator’s services. (See Order, ECF #395.) The Order

 required Scott to file a supplement with the requested information by June 15, 2018.

 (See id.)

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       Scott thereafter filed a motion seeking an extension of time to file the required

 supplement. (See Mot. for Extension, ECF #401.) By order dated June 14, 2018, the

 Court granted the requested extension and directed Scott to submit the required

 supplement by not later than July 2, 2018. (ECF #403.)

       Scott did not submit the required supplement by the extended deadline.

 Instead, on July 16, 2018, he filed a motion in which he claimed that he got “no

 reply” to his request for an investigator. (ECF #413.) That assertion is false. The

 Court responded to his request for an investigator twice – in the two prior orders

 described above.

       The Court remains inclined to appoint an investigator to assist Scott with

 gathering information for use in connection with sentencing (and only sentencing).

 But the Court is not going to approve an open-ended and undefined request for an

 investigator, nor will the Court approve a request without a proposed budget.

       The Court will grant Scott one final extension of time to submit the

 supplemental information in support of his request for investigator. Scott shall file

 the required supplement to his request for investigator on or before August 1, 2018.

       IT IS SO ORDERED.

                                        /s/Matthew F. Leitman
                                        MATTHEW F. LEITMAN
                                        UNITED STATES DISTRICT JUDGE

 Dated: July 19, 2018



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        I hereby certify that a copy of the foregoing document was served upon the
 parties and/or counsel of record on July 19, 2018, by electronic means and/or
 ordinary mail.

                                             s/Holly A. Monda
                                             Case Manager
                                             (810) 341-9764




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